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 10   Backgrid USA, Inc.

 11                          UNITED STATES DISTRICT COURT
 12                        CENTRAL DISTRICT OF CALIFORNIA
 13                                WESTERN DIVISION
 14   BACKGRID USA, INC., a California       Case No.: 2:22-cv-04251-SVW-MAR
      corporation                            Hon. Stephen V. Wilson
 15
 16                   Plaintiff,             NOTICE OF VOLUNTARY
                                             DISMISSAL WITH PREJUDICE
 17          v.                              PURSUANT TO FED. R. CIV. P.
 18                                          41(A)(1)(A)(I)
      THE RAE CLIQUE, INC. a California
 19   corporation; ALEXIS NEWMAN, an
 20   individual and DOES 1-10, inclusive,
 21   Defendants.
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        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO FED. R.
                               CIV. P. 41(a)(1)(A)(i)
Case 2:22-cv-04251-SVW-MAR Document 21 Filed 09/15/22 Page 2 of 2 Page ID #:73


  1         TO THE COURT:
  2         Notice is hereby given that pursuant to Federal Rule of Civil Procedure
  3   41(a)(1)(A)(i), Plaintiff Backgrid USA, Inc. voluntarily dismisses the above-captioned
  4   action with prejudice, with each side to bear its own attorneys’ fees and costs.
  5
  6
  7   Dated: September 15, 2022              ONE LLP
  8
  9                                          By: /s/ Joanna Ardalan
                                                 Joanna Ardalan
 10
                                                 Peter R. Afrasiabi
 11
                                                  Attorneys for Plaintiff,
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                                                  Backgrid USA, Inc.
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        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO FED. R.
                               CIV. P. 41(a)(1)(A)(i)
